Case 5:16-cv-10444-JEL-EAS ECF No. 2753, PageID.91754 Filed 12/15/23 Page 1 of 2




                  UNITED STATES DISTRICT COURT
                  EASTERN DISTRICT OF MICHIGAN
                       SOUTHERN DIVISION


  In re Flint Water Cases.               Judith E. Levy
                                         United States District Judge
  ________________________________/

  This Order Relates To:

  ALL CASES

  ________________________________/

          AGENDA FOR DECEMBER 20, 2023 DISCOVERY
                      CONFERENCE

       The Court will hold a discovery conference on these cases on

 Wednesday, December 20, 2023 at 1:00 pm via Zoom video conference.

       The agenda will be as follows, although the Court may adjust the

 agenda prior to the conference if necessary.

    1. The dispute between Individual Plaintiffs and VNA over document

       production and redaction related to the Court’s July 19, 2023

       rulings.

    2. Individual Plaintiffs’ requests for depositions related to the Court’s

       July 19, 2023 rulings.
Case 5:16-cv-10444-JEL-EAS ECF No. 2753, PageID.91755 Filed 12/15/23 Page 2 of 2




    3. Individual Plaintiffs’ requests to reopen depositions of VNA experts

       and for production of related documents.

    4. Individual Plaintiffs’ Notices of Objection to Designations of

       Protected Material. (ECF Nos. 2688, 2653, 2644, 2641, 2636, 2629,

       2604, 2585, 2571, 2566, 2554.)

       IT IS SO ORDERED.

 Dated: December 15, 2023                  s/Judith E. Levy
 Ann Arbor, Michigan                       JUDITH E. LEVY
                                           United States District Judge

                      CERTIFICATE OF SERVICE

       The undersigned certifies that the foregoing document was served
 upon counsel of record and any unrepresented parties via the Court’s
 ECF System to their respective email or first-class U.S. mail addresses
 disclosed on the Notice of Electronic Filing on December 15, 2023.

                                           s/William Barkholz
                                           WILLIAM BARKHOLZ
                                           Case Manager




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